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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                    _____________________________________

VERNON OARD,

                   Plaintiff,
                                                    Case No. 1:17-CV-1136
                                                    Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and
14TH JUDICIAL CIRCUIT COURT,

                   Defendants.


Sarah Riley Howard                                 Laura S. Amtsbuechler
Erin Dornbos                                       Laura Bailey Brown
Attorneys for Plaintiff                            Attorneys for Defendants
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           NOTICE REGARDING PLAINTIFF’S MOTION TO COMPEL

      The parties hereby notify the Court of the following matter pertaining to

Plaintiff’s Motion to Compel (Dkt. No. 22) and this Court’s Order on that Motion

(Dkt. No. 34):

      1.     Per the Court’s Order, Defendants determined that a memorandum by

Circuit Judge Timothy Hicks concerning the investigation of Eric Stevens (“the

Memorandum”) indeed exists. The Memorandum is actually two separate

documents dated March 20, 2017, and March 27, 2017, respectively, and Bates-

numbered 1703-D to 1711-D. Defendants included the Memorandum on their
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privilege log and have asserted the following privileges protect the Memorandum

from disclosure: attorney-client communication, attorney work product, and

deliberative process privilege.

      2.     Plaintiff’s counsel took Judge Hicks’ deposition in this matter, and

believes that at least some or all of Memorandum must be disclosed and is not

protected by the privileges cited by Defendants.

      3.     The parties agreed that the most appropriate method of resolution of

this question is for Defendants to submit the Memorandum in camera for the

Court’s review and resolution of the question of whether some or all of the

Memorandum must be disclosed to Plaintiff. Defendants will arrange to deliver the

Memorandum to Magistrate Judge Green’s chambers.

      4.     If the Court wants further briefing on the question, the parties are of

course willing to submit that, and/or participate in a telephonic or in-person

hearing, but the parties know that the Court is well-versed on the underlying issues

from the last hearing on this matter.




                                  Respectfully submitted,


                                  PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                  Attorneys for Plaintiff

Dated: November 13, 2018                By: /s/ Sarah R. Howard
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                           ROSATI SCHULTZ JOPPICH & & AMTSBUECHLER, P.C.
                                Attorneys for Defendants

Dated: November 13, 2018        By: /s/ Laura Bailey Brown by permission by SRH
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